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                                         #1609



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                         )
                                                  )
          Plaintiff,                              )
                                                  )   CRIMINAL NO. 05-CR-30015-DRH
          v.                                      )
                                                  )
JOE SHARP                                         )
                                                  )
          Defendant.                              )



                                           ORDER

          Upon motion of the United States of America, and the Court being advised of the facts,

leave of court is granted for dismissal of Count 9 from the Second Superseding Indictment in the

above case in reference to Defendant Joe Sharp.

          SO ORDERED:


          DATE: April 29, 2007.


                                                  /s/      David RHerndon
                                                  United States District Judge
